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                          UNITED STATES DISTRICT COURT

                             DISTRICT OF CONNECTICUT


SALLY GREENHOUSE                          :
                                          :
VS.                                       :       NO. 3:05cv1429(AHN)
                                          :
YALE UNIVERSITY                           :       SEPTEMBER 7, 2008


                  PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS


       1. This lawsuit alleges that the defendant retaliated against the plaintiff for

complaining about sexual harassment while she was a graduate student at the Yale

Drama School. Is there any reason why you would have difficulty being completely

neutral and fair in deciding this case if you are chosen to serve on the jury?

       2. Is there anyone here who would prefer not to sit on a jury concerning a case

of this kind?

       3. Does anyone here feel for any reason that citizens who believe that they have

been treated illegally and unfairly should not bring suit against those they believe to be

responsible? If so, please explain.

       4. Have you or has anyone close to you ever been the victim of sexual

harassment or sexual discrimination?




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       5. Has anyone here or anyone close to you ever been employed either by Yale

University or by any other college or university in the State of Connecticut or

elsewhere?

       6. Do you know or have you read anything or heard anything about this case,

the plaintiff or any of the lawyers involved in the case?

       7. Has anyone here or any close to you ever been employed by an attorney?

       8. Would you tend to favor one side or the other in this case without regard to

the evidence which may be presented?

       9. Does anyone here believe that allegations of sexual harassment or sexual

discrimination should be treated less seriously than other kinds of illegal activity?

       10. Does anyone here believe that the laws which prohibit discrimination on the

basis of sex should be repealed or not enforced?

       11. Is there anyone here who would refuse to return a verdict in favor of the

plaintiff even if she proved her case?

       12. Have you, or has anyone close to you, ever been a party to a lawsuit? If so,

please explain.

       13. Where are you employed?

       14. If you are married, where is your spouse employed?




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                                   THE PLAINTIFF



                                   BY:                   /s/
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                                          Her Attorney



CERTIFICATION OF SERVICE

On the date above stated, a copy of the foregoing was filed electronically and served by
mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail to
anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.
Parties may access this filing through the Court’s CM/ECF System.



                                            /s/
                                   JOHN R. WILLIAMS




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